                               Case 3:15-cv-01544-RNC Document 293 Filed 02/04/19 Page 1 of 1
                                                                                                                          Civil- (Dec-2008)
                                                                 HONORABLE: Robert N. Chatigny
                                       DEPUTY CLERKL. Pipech                    RPTR/ECRO/TAPEDarlene Warner
         TOTAL TIME:               2    hours 50 minutes
                                          DATE: 2/4/2019        START TIME: SP      END TIME: 4:55 p.m.
                                                             LUNCH RECESS         FROM:             TO:
                                                     RECESS (if more than ½ hr)   FROM:             TO:

         CIVIL NO. 3:15-cv-1544-RNC

                                                                             Counsel for Plaintiffs: $OLFLD'
                        City of Hartford, et al.                             %XWOHU%UHWW/DQG&DUOD3LFNUHO


                                           vs                                Counsel for Defendants: %UDQGRQ
                        Monsanto Company, et al.                             $UEHU7KRPDV*RXWPDQ.LP
                                                                             .RFKHU0LFKDHO0LOOHU
                                                                             3DXO:LOOLDPV5LFKDUG&DPSEHOO



                                                   COURTROOM MINUTES- CIVIL

                              ✔ Motion hearing                       Show Cause Hearing
                              ✔ Evidentiary Hearing                  Judgment Debtor Exam
                         Miscellaneous Hearing
                     Oral Argument re: Summary Judgment Motions/Daubert Hearing
         ✔ .....#266 Motionfor Summary Judgment                      granted    denied                                    advisement
         ✔ .....#283 Motionto Preclude/Exclude Testimony of Patrick Craffey                granted           denied       advisement
               .....#         Motion                                                       granted           denied       advisement
               .....#         Motion                                                       granted           denied       advisement
               .....#         Motion                                                       granted           denied       advisement
              .....#          Motion                                                       granted           denied       advisement
              .....#          Motion                                                       granted           denied       advisement
              .....           Oral Motion                                                  granted           denied       advisement
              .....           Oral Motion                                                  granted           denied       advisement
              .....           Oral Motion                                                  granted           denied       advisement
              .....           Oral Motion                                                  granted           denied       advisement
              .....               Briefs(s) due              Proposed Findings due                     Response due
              .............                                                                                       filed   docketed
              .............                                                                                       filed   docketed
              .............                                                                                       filed   docketed
              .............                                                                                       filed    docketed
              .............                                                                                       filed   docketed
              .............                                                                                       filed   docketed
              ............                         Hearing continued until                                   at
          
Notes:
